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                     Exhibit 10B
                  TO UNITED STATES’ BILL OF COSTS
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Sandia National Laboratories

 Expense Report 10/11/13 - 10/18/13

Name:                          Dykhuizen,Ronald C.
Status:                        Approved by Neiser Jr.,Richard A. on 10/29/13.
Report #:                      1
Activity #:                    T20131011
Travel Dates:                  10/11/13 - 10/18/13
Personal Days:                 0
Business Days:                 8
Total Days:                    8
Category:                      Other
Description:                   attend BP trial and advise DOJ lawyers on technical matters
Travel Type:                   Domestic - Travel within the USA
Total Cost:                    $ 1,434.25



 Destination(s)

  Date/Day                                               Location
  Fri 10/11/13                                           New Orleans, LA
  Sat 10/12/13                                           New Orleans, LA
  Sun 10/13/13                                           New Orleans, LA
  Mon 10/14/13                                           New Orleans, LA
  Tue 10/15/13                                           New Orleans, LA
  Wed 10/16/13                                           New Orleans, LA
  Thu 10/17/13                                           New Orleans, LA
  Fri 10/18/13                                           New Orleans, LA




                                                                                             Witness Fees_117
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Details

                        Fri          Sat          Sun       Mon          Tue       Wed          Thu
Trip First Half
                      10/11        10/12         10/13     10/14        10/15     10/16        10/17
Pers. Car Mileage
Lodging             $159.00     $159.00    $159.00       $159.00     $159.00    $159.00     $159.00
Lodging Tax          $21.67      $21.67     $21.67        $21.67      $21.67     $21.67      $21.67
Lunch                 $6.00       $7.00      $6.00         $6.00       $7.00      $5.00       $7.00
Dinner               $35.00      $17.00      $8.00        $12.00      $11.00     $13.00       $8.00

                                            Fri
Trip Second Half                                                     Total
                                            10/18
Pers. Car Mileage                                           $13.56                           $13.56
Lodging                                                                                   $1,113.00
Lodging Tax                                                                                 $151.69
Lunch                                                        $8.00                           $52.00
Dinner                                                                                      $104.00




Project and Task

Project / Task                Expenditure Type                                               Amount
154193 / 1                    TRAVEL                                                       $ 1,434.25




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Checklist and Notes


 Did you use an SNL Designated Travel Agency (BCD or SWABIZ)?

 Yes


 Do you have an itinerary provided by the DTA to keep with your receipts as supporting
 documentation?

 Yes


 Did you use your Corporate Travel Card to purchase airfare, lodging and car rental?

 Yes


 Do you expect your vouchered expenses to be reimbursed by a third party?

 No


 Do you have receipt(s) for all lodging?

 Yes




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